                             SELECTION OF LIBRARY MATERIALS
                            CENTRAL ARKANSAS LIBRARY SYSTEM
                                    BOARD POLICY #300


BOARD APPROVAL: 3/27/91, 8/25/05, 1/28/16, 8/24/23
REVISION: 4/20/99, 8/05/05, 10/26/15, 7/25/19, 8/22/23
DIRECTOR'S RECOMMENDATION: 3/27/91
LEGAL ADVICE: NA
REFERENCE: NA




OBJECTIVE

The objective of the Central Arkansas Library System (CALS) is to provide a balanced and broad collection
of materials and resources in varied formats to enlighten, inform, entertain, and empower the diverse
community of Pulaski and Perry Counties.



SELECTION PRINCIPLES

The Board of Directors of CALS recognizes the pluralistic nature of the community and the varied
backgrounds, levels of education, and needs of all citizens of all ages. The responsibility for selection of
library materials is delegated to the Executive Director and under their direction to the appropriate
members of staff. The Board, therefore, establishes the following principles to guide the Library in the
selection process.

       Develop a well-rounded collection of current, high-demand, high-interest materials in a variety of
        formats to meet the needs of our patrons.

       Make available a wide diversity of points of view, subjects, opinions, and modes of expression,
        reflecting the diversity of the community and world we inhabit, and the diversity of reader tastes
        and interests. No library material will be excluded because of the race, nationality, sex, or the
        political, social, or religious views of its author or its intended audience.

       Provide materials to meet the recreation and information needs and interests of our patrons and
        organize those materials in age-appropriate collections.

       Make available current, accurate, and useful information to encourage lifelong learning by
        independent adult learners.

       Encourage minors to develop an interest in reading and learning by providing an outstanding
        collection of materials.

       Provide materials in digital/electronic formats. Changes and advances in technology make it
        imperative that the library adapts in order to offer the best and most complete information
        services.

       Provide an appropriate number of copies for each title purchased so that patrons do not need to
        wait an unreasonable length of time to get any item.



                                                                                                     CALS00001
INTELLECTUAL FREEDOM
All patrons are free to reject any materials of which they do not approve for their use. The choice
of library materials for personal use is an individual matter. No one has the right to exercise
censorship to restrict the freedom of use and/or access of others. The library staff does not serve
in loco parentis (in place of the parent). Parents/guardians have the final responsibility for what
their children choose to borrow from library collections. Any request for reconsideration of an
item in the collection must follow the procedure outlined in the "Collection Development"
section of "Policies and Governance" on the CALS website.
The Library subscribes to the philosophies outlined in the following documents.
Library Bill of Rights
Freedom to Read Statement
Freedom to View Statement
Labels and Rating Systems
Free Access to Libraries for Minors


From time to time, a person may be concerned about a particular book or other material in the Library.
Patrons may request that CALS reconsider the inclusion of an item in the collection, or the decision to
place the item in a particular area of the collection. Any request for reconsideration of an item in the
collection must follow the procedure outlined in the "Collection Development" section of "Policies and
Governance" on the CALS website.

SELECTION CRITERIA
There is no single standard that can be applied to evaluate all the materials included in the
Library's collections. Each type of material will be evaluated in terms of its own qualities and
merits. Some general criteria used are:

       Selectors respond to community interests by careful consideration of patron requests for
        purchases, use patterns for existing materials, purchase trends of similar materials by peer
        libraries, and any other source of information indicating community interests.
       Evaluation in reputable review sources such as: Booklist, Library Journal, Publisher's
        Weekly, The New York Times Book Review, School Library Journal, Arkansas Democrat-
        Gazette as well as various websites and blogs.
       Popular demand
       Accuracy and currency of information
       Authority and reputation of the author or publisher
       Artistic and literary merit
       CALS staff is encouraged to recommend titles and subjects to be purchased for their
        branches based on knowledge of their patrons' needs and interests.




                                                                                                 CALS00002
       The choice of format will be made considering customer needs first, then taking into
        account technological developments, cost of the item, and CALS ability to acquire,
        process, and circulate the items in the specific format.
       The format of materials must be suitable for library use and must be appropriate to
        convey the subject matter. Materials with formats that do not conform or lend themselves
        to library use are usually excluded. This includes items with processing and storage
        issues, single use items, and items and services not commercially available to libraries.
       The relation of new materials to existing CALS collections shall be considered.
       All materials will be judged as a whole rather than on isolated parts or passages. Works
        that depict an aspect of life honestly will not be excluded because of frankness of
        expression, or because it is controversial. Library materials will not be marked or
        identified to show approval or disapproval of contents, and no catalogued book or other
        item will be sequestered, except for the express purpose of protecting it from injury or
        theft.
       Since technical systems do not exist to insure Internet conformity with CALS' Selection
        Policy, users of the Internet are expected to know and abide by CALS' Public Computer
        and Internet Use Rules and Responsibilities.
       Unsolicited gifts will be subject to the same selection policies and procedures applied to
        any materials added to the collection. Any materials not added to library collections will
        be given to the Friends of CALS book sale.



COLLECTION MAINTENANCE

Periodic and continuous evaluation of materials in the collection is a priority of collection development
and is considered of equal importance to the acquisition of new materials. Systematic and ongoing
weeding of library materials is essential in order to assure an active and useful collection and the best use
of available space. In addition to weeding of print materials, the discontinuation of purchasing and/or
housing of older media formats will be considered when demand and availability indicate they are no
longer appropriate for the collection.

Materials that are weeded may be given to the Friends of CALS or non-profit organizations for resale
and/or reuse. Some items may be physically discarded due to significant damage or in a condition in
which they cannot be sold or reused.



SPECIAL COLLECTIONS

Richard C. Butler, Sr. Center for Arkansas Studies Collection

The Butler Center for Arkansas Studies exists to collect, preserve, promote, and provide access to the
historical, cultural, political and societal records of Arkansas, her counties, the city of Little Rock, and the
immediate region. Toward that end, the Center shall collect the literature of the state, including both
fiction and nonfiction. The Research Services Division of the Butler Center for Arkansas Studies acquires
and preserves documents, photographs, maps, pamphlets, media, ephemera, and other primary materials.
Along with materials that focus on events within the boundaries of the state and in keeping with its
founding documents, the Butler Center collects material that provides insights into Arkansas's place in
broader political and bioregional contexts.




                                                                                                      CALS00003
A separate genealogical collection will also be maintained in the Butler Center. The genealogy collection
will have a national scope, supplemented by materials covering foreign countries and regions. The Butler
Center will maintain close relationships with private genealogical organizations in an attempt to acquire
holdings of such groups.

Additional guidelines for selection for this collection will be implemented and revised, as needed, by
Butler Center Staff.




                                                                                                  CALS00004
                     RECONSIDERATION OF LIBRARY MATERIALS
                                  CENTRAL ARKANSAS LIBRARY SYSTEM
                                         BOARD POLICY #301

BOARD APPROVAL: 10/23/97, 1/26/05, 9/28/23
REVISION: 1/9/06, 7/25/19, 9/7/23
DIRECTOR'S RECOMMENDATION: 10/23/97
LEGAL ADVICE: 12/13/05
REFERENCE: SEE ALSO Administrative Procedure 301, FORM #301

Any current cardholder in good standing of the Central Arkansas Library System (CALS) service area who
wishes to object to an item in the library's collection or to an Internet site accessed through a library
computer, must complete, and sign a Request for Reconsideration of Library Materials form. All
complaints will be forwarded to a committee of three (3) library professionals employed by CALS
appointed by the Executive Director.

The Executive Director will communicate the committee's decision and any accompanying documentation
to the cardholder within a reasonable period of time.

If the cardholder is not satisfied with the committee's decision, they may file a written appeal to the CALS
Board of Directors within seven (7) days of the recceipt of the committee's written decision.

The challenged item shall remain in circulation for the period of time it takes to complete the review and
appeal process.

Once the review process is complete and a decision has been made on a particular item, that item will not
be reviewed again for five (5) years.

All documentation regarding the request for reconsideration will be retained in the administration office
for a period of five (5) years.




                                                                                                   CALS00005
                                     RULES OF CONDUCT
                                 CENTRAL ARKANSAS LIBRARY SYSTEM
                                        BOARD POLICY #400

BOARD APPROVAL: 2/22/89
REVISION: 3/29/94, 11/20/97, 1/22/98, 8/29/00, 09/28/12, 9/22/16, 7/26/18, 7/25/19, 12/17/20, 6/24/21,
8/15/23
DIRECTOR'S RECOMMENDATION: 2/22/89
LEGAL ADVICE: 3/9/93
REFERENCE: SEE ALSO Administrative Procedure 400, Administrative Procedure 401, FORM #053, FORM
#054, FORM #055, FORM #056

In order to ensure that library facilities are safe, are welcoming, and provide
equitable access to materials and services for all patrons, the CALS Board of Directors
has adopted the following rules and regulations.

RULES FOR USING THE CENTRAL ARKANSAS LIBRARY SYSTEM'S FACILITIES

Level 1: Actions that require immediate removal from the library premises

1. Persons who break any local, state, or federal law while using library resources or
facilities shall be immediately removed from the library and may be charged under
appropriate ordinances, statutes, etc.

2. Persons who deface or mutilate any library property shall be immediately
removed from the library. It is the policy of the Board that such persons be
prosecuted under appropriate statutes. This especially applies to anyone guilty of
defacing or mutilating books, periodicals, or other collections.

3. Persons carrying any weapon may not enter the library and shall be immediately
removed and it is the policy of the Board that such persons be prosecuted. The only
exception is for people in possession of a concealed handgun license recognized by
the State of Arkansas.

4. Persons who urinate or defecate anywhere on the premises other than authorized
restrooms shall be immediately removed from the library and may be charged under
appropriate ordinances, statutes, etc.




                                                                                              CALS00006
5. Persons engaged in sexual conduct or lewd behavior shall be immediately
removed from the library and may be charged under appropriate ordinances,
statutes, etc.

6. Persons engaged in fighting, abusive language, or other aggressive behavior shall
be suspended from the library and may be charged under appropriate ordinances,
statutes, etc.

7. Patrons whose bodily hygiene is offensive so as to constitute a nuisance to other
persons shall be required to leave the building. They may reenter the library when
they have eliminated the nuisance caused by their hygiene.


Level 2: Actions that require a written copy of the rules and/or verbal warning, but
if repeated are subject to further action

8. Patrons in the library shall be engaged in using library materials, services, or
facilities for their intended purpose.

9. Patrons shall not engage in harassing or threatening activities in the library.

10. All patrons must wear shoes and, as appropriate, trousers, outer shorts, pants,
skirts, dresses, blouses, shirts, and/or T-shirts.

11. Patrons may eat or drink only in designated areas of the library.

12. Smoking, use of tobacco products, and electronic nicotine delivery devices are
prohibited on CALS property.

13. Sleeping is not permitted in the library.

14. No animals, except service animals accompanying persons with disabilities, are
allowed in the library.

15. Nonlibrary-approved solicitation in any form is forbidden.

16. Public restrooms shall not be used for bathing, shaving, or washing clothing.



                                                                                  CALS00007
17. Conversations, including cell phone conversations, that disturb other patrons or
interfere with the ability of the staff to perform its duties are forbidden. Volume
from earphones and other portable devices should not be so loud as to disturb
others. Speakerphone and speaker functions shall not be used inside the library.

18. Littering of the building and library grounds is forbidden.

19. Patrons' personal belongings must not block access to walkways, computers, or
other library resources, and must not be left unattended. Any carrying device that is
allowed in the library is subject to search when the person leaves the building, in
accordance with Arkansas Statute 13-2-805.

20. Children ages 11 and older are welcome to be at the library without a caregiver if
their behavior complies with the Rules of Conduct. Caregivers should be at least
sixteen years of age and attentive to the needs of persons in their care. Further
information regarding caregivers and child safety can be found in the library's Safe
Child Procedure.

21. The police department will be called if children under 12 years of age are left
unattended in front of the building prior to regular opening time or have not been
picked up by 15 minutes after closing time.

22. Library computer users must sign in and agree to the Rules and Responsibilities
for Public Computer and Internet Use.

23. Patrons shall not enter spaces marked "Staff Only" unless they have permission
from a member of the library staff.

Failure to observe the Rules of Conduct may result in suspension of library privileges.
In the event of repeated offenses, the Library reserves the right to impose additional
suspensions based on circumstances. Suspensions may be appealed to Library
Administration.




                                                                               CALS00008
Revised 9/29/2022



ADULT PROVISIONAL – PTYPE 2

This card has limited checkout privileges and is appropriate for a variety of situations: residents at temporary
addresses, residents with no permanent address, patrons who request limited privileges, and as a courtesy. It is
primarily intended for adult patrons. See also PTYPE 6 Child Provisional.

    •    Assign PTYPE 2 (provisional) to the account
    •    Adult Provisional cards have limited privileges
             o Patron may have a maximum of 5 physical items checked out
             o Patron may have a maximum of 10 Overdrive/Libby items checked out

Temporary Address

While persons with temporary addresses at shelters or similar facilities in our service area may apply for a
provisional card by providing CALS with documentation from the shelter or service facility where they are a
temporary resident, this type of documentation is not required. A City of Little Rock Identification Card with a
shelter or service facility's address can also be used to document temporary residence.

People staying at Guesthouse Inn, Baptist Hospital Medical Plaza Hotel, Arkansas Cancer Research Center,
Arkansas Children's Hospital, or similar medical housing can be issued a provisional card.

Once documentation has been provided, the patron may receive their card immediately; it should not be mailed.
People with temporary addresses are not eligible for Interlibrary Loan services.

No Address

Persons residing in our service area with no fixed or temporary address may apply for a provisional card.

The patron may receive their card immediately; it should not be mailed. People with temporary addresses are not
eligible for Interlibrary Loan services.

We ask, but do not require, that patrons provide some documentation of their identity, e.g., a photo ID or a
picture/photocopy of same, documents with their name on them, etc. When these items are not available,
managers may use their judgment to determine whether to issue a provisional card.

Courtesy

At the discretion of a Branch Manager or the Head of the Circulation Department, a provisional card may be issued
to an institution, business, or individual as a courtesy. Courtesy provisional cards expire one year from the date of
issue.

Patients and their families staying at local medical hospitals (e.g., Guesthouse Inn, Baptist Hospital Medical Plaza
Hotel, AR Cancer Research Center, etc.) may be issued courtesy provisional cards at a Branch Manager's or
Department Head's discretion, providing they can show proof of that status. Place a note in the patron record that
this proof has been provided.




                                                                                                            CALS00015
Revised 9/29/2022


Children who need or would like to obtain a library account without a parent/guardian's signature may apply for a
provisional card. The child must be able to provide all required application information.

School Groups

Use PTYPE 6 for all school groups visiting CALS where the students receive cards. For any addresses which are not
in our service area add the following NOTE when creating the record:

    •    Student at school in service area

Child Provisional cards have limited privileges

    •    Patron may have a maximum of 5 physical items checked out
    •    Patron may have a maximum of 10 Overdrive/Libby items checked out




ADMINISTRATIVE – PTYPE 13

Departments and branches have cards for program collections, branch holds, and other administrative needs.
Administrative cards must be issued by the head of the department or branch.

Administrative cards, including ones attached to staff members, should never be used for personal or non-library-
related activity.

    •    Assign PTYPE 13 (administrative) to the record


BIBLIOCOMMONS STAFF – PTYPE 20

When setting up an account in Bibliocommons, any patron with PTYPE 20 is recognized as staff and will display the
CALS logo beside the username. Staff may create patron accounts with this PTYPE to be used for creating lists or
shelves in Bibliocommons to promote library materials to patrons. Cards with this PTYPE should not be used to
check out materials for personal use. Staff may use PTYPE 20 for cards, which might normally be PTYPE 13
(administrative) to combine the two purposes; discuss this with your manager and colleagues to determine what is
most appropriate for your situation.

    •    Assign PTYPE 20 (Bibliocommons staff) to the record


TECH CARDS – PTYPE 26

In partnership with schools within our service area, we offer Tech Cards to students.

    •    Do not manually assign PTYPE 26 to any record. These records are created annually prior to distribution of
         the tech cards to schools.
    •    Do not edit records with PTYPE 26 unless authorized to do so.

These cards are designated in Sierra as PTYPE 26 (Tech Card) and can be used to access any CALS digital resources
(databases, Overdrive, Freegal, etc.).




                                                                                                        CALS00018
  Revised 9/29/2022


  They can also be used to make a computer reservation in the library but cannot be used to check out physical
  library materials. Staff should never override this check-out block. Tech Cards begin with 77653 rather than the
  usual 57653 of standard library cards.

  Tech Cards are issued to students by their school rather than at the library. We cannot replace a lost or damaged
  Tech Card, but students can get a replacement through their school. The cards are not issued to individuals and do
  not contain identifying information beyond the name of the school or school district. All PINs for Tech Cards are set
  to 1234 and should not be changed by library staff.

  Tech Cards are issued for the school year and will expire on September 1 of the following year. If someone is using
  a Tech Card which is expired, staff should direct them to their school to get a replacement rather than updating
  the expiration date on the card.


  G ATEWAY

  CALS participated in the Gateway program from 1995 to 2020, but no longer participates. Patrons from our service
  area may still be eligible for library cards at other libraries and should check with those libraries directly to
  determine what options are available.


ONLINE REG ISTRATION

  A patron must be a resident of Pulaski or Perry County to apply for a library card on the CALS website. If the
  application is acceptable, an account is created, a block is placed on the card, and the library card is mailed to the
  patron. The patron must take the card to a CALS library to have the online registration block removed once their
  identification is verified.

  If a non-resident should apply for a card online, they must take the card to a CALS library and pay the non-resident
  fee to have the online registration block removed.


IDENTIFICATION


  IDENTIFICATION FOR ADULTS

  Library card applicants are asked to show current (i.e., non-expired), government-issued photo identification (e.g.,
  driver's license, passport, military or consular ID, City of Little Rock ID, Rock Region Metro ID, etc.).

  This need not be an Arkansas ID, and it need not have the applicant's current address. If the address on the
  patron's ID matches the address on the card application, or if they provide appropriate documentation; e.g., two
  or more pieces of mail, a lease agreement, utility bill, or property tax assessment that includes the patron's name
  and address as it appears in their library record, give them their card after you finish creating the patron record.
  Documentation presented should be dated within the past 30 days (about 4 and a half weeks), or within a year for
  tax-related documents.

  If a patron does not document their address when they apply for a card, mail the new card to verify their
  residential address, and restrict them to checkout of one item. Note, Sierra will not automatically enforce this one-
  item limit.




                                                                                                               CALS00019
  Revised 9/29/2022


  For individual, multi-user, provisional, student/educator non-resident, and all staff PTYPES, the new expiration
  date should be one year from the day the record is updated.

  When verifying information in the record, the octothorpe "#" symbol should be replaced with "Apt." in all address
  fields. The patron's PIN, home library, and preferred notification method should be verified and updated if
  necessary. Check that the PTYPE is appropriate for the address of the patron.

  Adult patrons should also be asked if they would like to register to vote or update their voter registration.

  Renewing Non-Resident Cards

  For non-resident cards, set the expiration date based on the non-resident fee amount paid. Below are guidelines
  for 3-month, 6-month, and annual non-resident fee expiration dates. These guidelines will often give non-residents
  more than a literal 3, 6, or 12 months of use; that is acceptable because the guidelines provide a straightforward
  way to calculate the expiration date for periods of less than a year.

      •    3-month: Set the expiration date to the end of the month three months from the current month. For
           example, if the patron pays in February the expiration date would be Feb + 1. Mar, 2. Apr, 3. May -- May
           31st.
      •    6-month: Set the expiration date to the end of the month six months from the current month. For
           example, if the patron pays in February the expiration date would be Feb + 1. Mar, 2, Apr, 3. May, 4. Jun,
           5. Jul 6. Aug – Aug 31 st.
      •    Annual: Set the expiration date to the end of the same month next year so that this aligns with the way
           we set dates for three- and six-month expirations. For example, if the patron pays anytime in March set
           the expiration date to March 31 st for the next year.


PURG ED CARDS

  Patron records with no fines and no activity according to the CIRC ACTIVITY field for 3 years are purged from the
  system.

  Scanning a card that has been purged from the database will not retrieve a record. A patron presenting a card that
  has been purged may renew their card by entering the patron’s information into a new patron record. Staff should
  request photo ID and then enter the patron's information as for a new card. Set the PTYPE appropriately according
  to whether the patron resides in our service area or not.

  Because the card is simply being renewed, the patron receives full circulation privileges immediately.

  Adult patrons should also be asked if they would like to register to vote or update their voter registration.


CHANG E OF ADDRESS , EMAIL, OR TELEPHONE NUMBER

  For a change of address, email, or telephone number, enter the information into the patron record immediately.
  Staff should ask patrons if their address, email, and/or telephone numbers have changed. This is especially
  important when the patron is on the phone or placing holds.

      •    Check the PTYPE of the patron when changing an address to ensure they still live within our service area
           or meet other criteria for receiving a free library card.




                                                                                                              CALS00023
  Revised 9/29/2022


  It may take up to 14 days (about 2 weeks) for mail to be returned to the Main Library. If the patron record does not
  contain a card-returned message, check the date the record was created. If the record was created less than 14
  days (about 2 weeks) previously, ask the patron to contact the library 15 days (about 2 weeks) after the record was
  created if the card has not arrived in the mail by that date. If the patron has not received the card at that time,
  update the account with a new library card number. Add the message 'Card not received. Record updated and new
  card mailed. xxxx mm/dd/yy' where xxxx is your Sierra login. Mail the new card to the patron.

  However, a patron who does not receive their card in the mail may also receive it in person after providing
  appropriate documentation; e.g., two or more pieces of mail, a lease agreement, utility bill, or property tax
  assessment that includes the patron's name and address as it appears in their library record. The documentation
  presented should be dated within the past 30 days (about 4 and a half weeks), or within a year if the patron has
  presented a property tax assessment. Add a message to the record indicating that the patron has presented the
  documentation and new card issued. For example: 'Patron verified address with utility bill. New card issued. xxxx
  mm/dd/yy'. Send an email to librarycard@cals.org that includes the p-number of the patron record, that the
  address was verified with documentation and a new card given to the patron. This will allow Circulation staff to
  remove the returned card and discard it appropriately.

  Do not remove any existing messages or notes from the patron record.

  If the patron lives at an address that does not have mail delivery (this sometimes applies to patrons who live in
  rural areas, and in College Station, Hensley, Woodson, and Wrightsville), managers and assistant managers are
  permitted to bypass mailing the card and instead verify residency with appropriate documentation. In this case,
  the card is given to the patron at the time they sign up for it.


PERSONAL IDENTIFICATION NUMBER (PIN)

  Patrons may access their patron account using a PIN; this is required to use online account access for some
  systems like the self-check kiosks and the Bibliocommons catalog. Patrons who did not specify a PIN during the
  registration process will be prompted to create one for themselves the first time they access their records online.

  Staff will see only an encrypted version of a patron's PIN when accessing the patron's record. This is done to
  protect patron privacy. Staff may create a PIN for the patron by following the instructions on the screen or explain
  or show patrons how to create PINs themselves so that they can be assured privacy.

  A PIN must be between 1 and 19 alphanumeric characters.


REG ISTRATION WHEN SIERRA NOT WORKING

  Take applications and place them aside for entry once Sierra is online . Be sure to note the barcode on the
  application. If the patron checks something out, scan the barcode and make the notation in Notepad: NEW
  PATRON.

  Enter all the new registrations before entering the checkouts from Notepad and before checking in any items.




                                                                                                            CALS00025
